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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK

                                                   ECF CASE
AUTHORS GUILD, DAVID BALDACCI,
BELFRY HOLDINGS, INC., MARY BLY,
COLUMBUS ROSE, LTD., MICHAEL                       No. 1:23-cv-08292-SHS;
CONNELLY, SYLVIA                                   No. 1:23-cv-10211-SHS
DAY, ELOISA JAMES, INC., JONATHAN
FRANZEN, JOHN
GRISHAM, HIERONYMUS, INC., ELIN                    JURY TRIAL DEMANDED
HILDERBRAND,
CHRISTINA BAKER KLINE, S.C.R.I.B.E.,
INC., SPLENDIDE MENDAX, INC, SYLVIA
DAY LLC, VICTOR LAVALLE,
GEORGE R.R. MARTIN, JODI PICOULT,
DOUGLAS PRESTON, ROXANA ROBINSON,
GEORGE SAUNDERS, SCOTT TUROW, and
RACHEL VAIL, individually and on behalf of
others similarly situated,

                   Plaintiffs,

      v.

OPEN AI INC., OPENAI OPCO LLC, OPENAI
GP LLC, OPENAI, LLC, OPENAI GLOBAL
LLC, OAI CORPORATION LLC, OPENAI
HOLDINGS LLC, OPENAI STARTUP FUND I
LP, OPENAI STARTUP FUND GP I LLC,
OPENAI STARTUP FUND MANAGEMENT
LLC, and MICROSOFT CORPORATION,

                   Defendants.


JONATHAN ALTER, KAI BIRD, TAYLOR
BRANCH, RICH COHEN, EUGENE LINDEN,
DANIEL OKRENT, JULIAN SANCTON,
HAMPTON SIDES, STACY SCHIFF, JAMES
SHAPIRO, JIA TOLENTINO, TOUGH JEWS,
INC., and SIMON
WINCHESTER, on behalf of themselves and all
others similarly situated,

                   Plaintiffs,


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         v.

 OPEN AI INC., OPENAI OPCO LLC, OPENAI
 GP LLC, OPENAI, LLC, OPENAI GLOBAL
 LLC, OAI CORPORATION LLC, OPENAI
 HOLDINGS LLC, OPENAI STARTUP FUND I
 LP, OPENAI STARTUP FUND GP I LLC,
 OPENAI STARTUP FUND MANAGEMENT
 LLC, and MICROSOFT CORPORATION,

                        Defendants.


                         AUTHOR PLAINTIFFS’ MOTION TO SEAL

       Under paragraph 25 of the Stipulated Protective Order in this case (Dkt. 338), Author

Plaintiffs respectfully seek to provisionally file under seal portions of their letter motion to compel

and exhibits B-I in support. The letter motion seeks a conference to discuss a discovery dispute—

specifically, Author Plaintiffs seek an Order compelling OpenAI to produce the documents they

have already produced to the News Plaintiffs from the custodial files of Michael Lampe, Brad

Lightcap, and Wojciech Zaremba. The Author Plaintiffs seek to file portions of this letter motion

under seal because exhibits B-I to the motion include and discuss documents that Defendants have

designated as Protected Discovery Material under the Protective Order. Dkt. 338 ¶ 25. The Author

Plaintiffs do not affirmatively seek to seal any material. Under the Protective Order, Defendants

have five business days to file a statement of reasons for why the material should be sealed. Id.

The Author Plaintiffs will review Defendants’ filings, and if necessary, confer about any

disagreement.

Dated: March 31, 2025




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                                CERTIFICATE OF SERVICE

       I hereby certify this 31st day of March, 2025, I caused a true and correct copy of the

foregoing to be electronically filed with the Clerk of the court using the CM/ECF system which

will send notification to the attorneys of record and is available for viewing and downloading.


                                                 /s/ Rohit D. Nath
                                                 (Signature)




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